                     IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF NORTH CAROLINA

INTERNAL REVENUE SERVICE,                        )
                                                 )
           Appellant,                            )
                                                 )
           V.                                    )     Case No. 4:20-cv-150-D
                                                 )
SPENCER LAMONT PITTMAN,                          )
                                                 )
           Appellee.                             )

                                                 )
IN RE SPENCER LAMONT PITTMAN,                    )
                                                 )     Case No. 20-bk-00490-5-JNC
           Debtor.                               )
                                                 )

                     CONSENT ORDER GRANTING CONSENT MOTION
                     RESOLVING DISPUTE AND DISMISSING APPEAL

       Counsel for the government and the debtor have moved this Court to enter this consent

order dismissing this appeal and ordering that the bankruptcy court reclassify the Internal

Revenue Service's claim for the shared responsibility payment as follows:

       Priority treatment:                    $752.50 (plus $103.95 in interest)

       General unsecured treatment:           $752.50 (plus $103.96 in interest)

       Accordingly, it is hereby ORDERED that the appeal in this case is DISMISSED. It is

further ORDERED that the United States Bankruptcy Court for the Eastern District of North

Carolina shall ensure that the portion of the Internal Revenue Service's claim related to the

shared responsibility payment is treated as reflected above.




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       SO ORDERED. This j_ day ofNovember 2020.




                                           J     S C. DEVER III
                                           United States District Judge


Seen and agreed:


Isl Kyle L. Bishop                                Isl Palmer E. Huffstetler, III
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